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8                                       UNITED STATES DISTRICT COURT

9                                  CENTRAL DISTRICT OF CALIFORNIA

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11   S.L.,                                         )    Case No. CV 21-2267 FMO (SKx)
                                                   )
12                         Plaintiff,              )
                                                   )
13                   v.                            )    ORDER DISMISSING ACTION WITHOUT
                                                   )    PREJUDICE
14   Exodus Recovery, Inc.,                        )
                                                   )
15                         Defendant.              )
                                                   )
16

17             Having been advised by counsel that the above-entitled action has been settled, and

18   pursuant to the status conference held on November 18, 2021, where plaintiff’s counsel advised

19   the court that S.L. is no longer a minor, IT IS ORDERED that the above-captioned action is hereby

20   dismissed without costs and without prejudice to the right, upon good cause shown within 30

21   days from the filing date of this Order, to re-open the action if settlement is not consummated.

22   The court retains full jurisdiction over this action and this Order shall not prejudice any party to this

23   action.

24   Dated this 24th day of November, 2021.

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26                                                                            /s/
                                                                      Fernando M. Olguin
27                                                                United States District Judge

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